      Case 3:13-cr-00236-M Document 53 Filed 01/29/15         Page 1 of 6 PageID 183


                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

UNITED STATES OF AMERICA,
                                                        No. 3:13-CR-236-M
v.

JESSICA SALMERON,

                              Defendant,

and

CREDIT UNION OF TEXAS and
EXCALIBUR COLLISION CENTER, INC.,

                              Garnishees.

                                AGREED
                 MOTION FOR FINAL ORDER OF GARNISHMENT

        The United States of America moves this Court, pursuant to 18 U.S.C. § 3613 and

28 U.S.C. § 3205 of the Federal Debt Collection Procedures Act (FDCPA), to enter an

Agreed Final Order of Garnishment against the substantial nonexempt property of

Defendant-Judgment Debtor, Jessica Salmeron (Salmeron), and/or her spouse, Nicholas

Anthony Salmeron, and in support states:

                                       BACKGROUND

        1.     Salmeron pled guilty to bank theft in violation of 18 U.S.C. § 2113(b). See

Plea Agreement and Factual Resume (Dkt. Nos. 8 and 10).

        2.     On May 28, 2014, this Court sentenced Salmeron and ordered her to pay

restitution in the amount of$76,781.41, as required by the Mandatory Victim Restitution



Agreed Motion for Final Order of Garnishment- Page 1
    Case 3:13-cr-00236-M Document 53 Filed 01/29/15                   Page 2 of 6 PageID 184


Act (MVRA), 18 U.S.C. §§ 3663A-3664 (Dkt. No. 36). As of January 26, 2015,

Salmeron owes an outstanding balance of$58,781.41.

       3.      To enforce this Court's judgment, the United States sought, obtained, and

served Writs of Garnishment on Credit Union of Texas and Excalibur Collision Center,

Inc. (Garnishees). The Writs attached to any of Salmeron's nonexempt property and

rights to property subject to her criminal restitution judgment. (Dkt. Nos. 41-43).

       4.      Garnishees answered the writs stating whether they had any property

belonging to or due Salmeron and/or his spouse in their possession, custody, or control as

follows:

               a.      Credit Union of Texas holds approximately $3,393 in regular shares

jointly owned by Salmeron and her spouse, and approximately $35,000 in an IRA owned

by her spouse (Dkt. No. 44); 1 and

               b.      Excalibur Collision Center, Inc. holds weekly earnings due or owing

to Salmeron's spouse (Dkt. No. 47).

       5.      Salmeron and her spouse each filed a Claim for Exemption and Request for

Hearing regarding the IRA at Credit Union of Texas alleging that property to be her

spouse's separate property acquired before they were married (Dkt. Nos. 46 and 50).

Since then, the United States has reviewed records regarding that account and negotiated

an agreed resolution with Salmeron and her spouse regarding the funds held by Credit

Union of Texas.


1
 The United States previously released two jointly owned checking accounts from restriction. See Partial
Termination of garnishment Proceedings (Dkt. No. 45).

Agreed Motion for Final Order of Garnishment- Page 2
   Case 3:13-cr-00236-M Document 53 Filed 01/29/15            Page 3 of 6 PageID 185


       6.      The parties agree that account records establish that on the date of marriage

(March 5, 2011), Nicholas Anthony Salmeron had $26,563 on deposit in an account at

John Hancock for The Trustees of Claycomb Associates Profit Sharing/Money Purchase

Plan, which is his separate property. On or about December 11,2013, Mr. Salmeron

opened the Credit Union of Texas IRA with a rollover deposit from John Hancock in the

amount of $34,983. At the time the writ of garnishment was served on Credit Union of

Texas, the IRA had a balance of$35,000. Therefore, only $8,494 of the funds held in the

Credit Union of Texas IRA are community property earned or invested after marriage,

and Salmeron's 50% share ofthose funds is only $4,247.

                                        AUTHORITIES

       7.      Pursuant to 18 U.S.C. § 3613(c), upon entry of judgment, a lien arose

against all of Salmeron's property and rights to property, including community property.

United States v. Loftis, 607 F.3d 173, 176-79 (5th Cir. 2010) (citing Medaris v. United

States, 884 F.2d 832, 833-34 (5th Cir. 1989)).

       8.      Courts have universally held that the civil enforcement remedies of the

FDCPA may be used to collect restitution within the criminal case in which the defendant

was originally convicted. See, e.g., United States v. Witham, 648 F.3d 40, (1st Cir. 2011)

("MYRA provides the United States with independent authorization to invoke procedures

under the FDCPA in order to enforce all orders of restitution in criminal cases"); United

States v. Woods, 377 Fed. Appx. 311 (4th Cir.2010) (unpublished) (affirming orders

allowing government to proceed in criminal case docket, without filing a separate civil

action); United States v. Kollintzas, 501 F.3d 796, 800-01 (7th Cir. 2007) (district court

Agreed Motion for Final Order of Garnishment- Page 3
     Case 3:13-cr-00236-M Document 53 Filed 01/29/15           Page 4 of 6 PageID 186


may entertain civil collection proceedings as postjudgment remedies within an underlying

criminal case (citing United States v. Vitek Supply Co., 151 F.3d 580, 585-86 (7th Cir.

1998)); and United States v. Mays, 430 F.3d 963 (9th Cir. 2005) (FDCPA civil

enforcement remedies may be used to collect restitution under the MYRA; government

need not bring a separate civil suit to obtain FDCPA remedy, but may file post-judgment

enforcement action in criminal court in which defendant was originally convicted,

regardless of status of supervised release).

        9.     The FDCPA provides that within 20 days of service, judgment debtors or

interested parties may request a hearing to determine: (1) the probable validity of any

claim for exemption; (2) the compliance with the statutory requirement for the issuance

of the writ; or (3) certain issues that pertain to the enforcement of default judgments. See

28   u.s.c. § 3202(d).
        10.    The exclusive and limited exemptions available to criminal judgment

debtors under 18 U.S.C. § 3613(a) are listed in the Clerk's Notice that Salmeron, her

spouse, and the Garnishees received.

                                         ARGUMENT

        11.    The United States is entitled to 25% of each periodic payment due or owing

to Salmeron's spouse from Excalibur Collision Center, Inc., plus the full liquidated value

of the jointly owned regular shares account held by Credit Union of Texas, plus $4,247

from the Credit Union of Texas IRA, which represents Salmeron's substantial nonexempt

interest in the funds held by the Garnishees, because Texas is a community property state

in which the United States may garnish jointly owned and community property to collect

Agreed Motion for Final Order of Garnishment- Page 4
   Case 3:13-cr-00236-M Document 53 Filed 01/29/15              Page 5 of 6 PageID 187



criminal restitution. See 18 U.S.C. § 3613(a); United States v. DeCay, 620 F.3d 534, 544

(5th Cir. 2010); Loftis, 607 F.3d at 178-179 (affirming garnishment of community

property earned by spouse during marriage, including retirement funds); Medaris v.

United States, 884 F.2d 832, 833-34 (5th Cir. 1989) (United States can garnish one-half

of sole-management community property of non-debtor spouse); and Kollintzas, 501 F.3d

at 803 (affirming garnishment of jointly owned bank account because defendant had right

to withdraw all of the money at any time without joint account holder's permission,

government's lien attached to the full value of the account).

       12.    The Clerk ofthe Court collects all payments on monetary penalties in

criminal cases; accordingly, all payments should have 3: 13-CR-236-M written on the

lower left comer of the check and be submitted to:

                      Clerk of the Court for the Northern District of Texas
                      1100 Commerce Street, Room 1452
                      Dallas, Texas 75242

       13.    The United States has confirmed with Salmeron and her spouse that neither

has any objection to the property held by Garnishees being liquidated and applied toward

Salmeron's criminal restitution judgment debt as requested in this motion and the

accompanying agreed order.

       14.     The hearing set for February 3, 2015 at 10:00 a.m. before Magistrate Judge

Stickney may be stricken as moot.




Agreed Motion for Final Order of Garnishment- Page 5
   Case 3:13-cr-00236-M Document 53 Filed 01/29/15               Page 6 of 6 PageID 188


                                        CONCLUSION

       Wherefore, all conditions necessary for a Final Order of Garnishment against the

substantial nonexempt property belonging to or due Salmeron held by the Garnishees

having been met, the United States moves for entry of an Agreed Final Order of

Garnishment on the pleadings without a hearing.

                                              Respectfully submitted,

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Spouse of Judgment Debtor




Agreed Motion for Final Order of Garnishment -Page 6
